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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re Case No. 07-22484-€-7
BRIAN GOTHARD, MC No. MEA-3

Debtor.

 

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MOTION FOR RELIEF FROM AUTOMATIC STAY No'l' INTENDED FoR

PUBLICATION
These findings of fact and conclusions of law, which are
not intended for publication, are rendered in this contested
matter pursuant to Federal Rule of Civil Procedure 52 as
incorporated by Federal Rules of Bankruptcy Procedure 7052 and

9014.

Jurisdiction
Jurisdiction is founded upon 28 U.S.C. § 1334. This is

a core proceeding. 28 U.S.C. § 157(b)(2)(G).

Findings of Fact

Debtor filed his voluntary chapter 7 petition on April

9, 2007. He scheduled real property commonly known as 3536 Del

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Sol Way, Sacramento, CA 95834 ("property") as property of the
estate. The first meeting of creditors was held on May 18,
2007. The chapter 7 trustee filed a report finding that there
is no property available for distribution from the estate over
and above that exempted by the debtor. Debtor was discharged
from all dischargeable debts on July 26, 2007.

On June 22, 2007, Countrywide Home Loans, Inc.
("movant") filed a motion, notice, and declaration requesting
that this court vacate the automatic stay to permit movant to
foreclose upon the property. The fair market value of the
property is approximately $275,000. Movant has a lien on the
property in the approximate amount of $269,958.42. There are
other liens against the property in the approximate amount of
$55,293.42.

No opposition to the motion was filed within the time
prescribed by Local Bankruptcy Rule 9014-l(f)(l). The parties
have consented to taking evidence by affidavit and have not
demonstrated that there is any disputed material factual issue
that would warrant an evidentiary hearing. _§e L. Bankr. R.
9014-l(f)(l). The evidentiary record is closed. ld;

Upon review of the record, the court determined that
the written record was adequate and that no oral argument is

necessary.

Conclusions of Law
The automatic stay of acts against debtor in personam
expires when the debtor is granted a discharge. ll U.S.C.

§ 362(c)(2)(C). Acts against property of the estate remain

 

 

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stayed until the earliest of the time when the bankruptcy case
is closed, dismissed, or the property ceases to be property of
the estate. ll U.S.C. § 362(c). The automatic stay may be
terminated earlier if debtor fails to protect the secured
party's interest adequately, § 362(d)(l), and, with respect to
a stay of an act against property, debtor does not have equity
in the property, § 362(d)(2)(A), and the property is not
necessary to an effective reorganization. ll U.S.C. §
362(d)(2)(B). The issue of whether the property is necessary
to an effective reorganization is not considered in a chapter 7
Case because no reorganization is contemplated in a chapter 7
case.

Although the debtor does not appear to have any equity
in the property, since the debtor was granted a discharge, the
automatic stay has expired as to the debtor. Thus, the motion
insofar as it is directed at the interest of the debtor is moot
and will be denied.

However, the motion will be granted as to the interest
of the trustee.

An appropriate order will issue.

Dated= August L,, 2007

 

UNITEU%§?ATES BANKRUPTCY JUDGE

 

 

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CERTIFICATE OF SERVICE

On the date indicated below, I served a true and

correct copy(ies) of the attached document by placing said
copy(ies) in a postage paid envelope addressed to the person(s)
hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

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Office of the United States Trustee
United States Courthouse

501 “I” Street, Suite 7~500
Sacramento, CA 95814

Dated= §/3/0`7 ` `

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